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                IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

      SABA MAHMOOD, individually and on           )
      behalf of similarly situated individuals,   )
                                                  )
             Plaintiff,                           )
                                                  )   No. 1:22-cv-02456
                                                  )
                            v.                    )   Honorable Sharon J. Coleman
                                                  )
                                                  )   Magistrate Hon. Heather K. McShain
      BERBIX, INC., a Delaware corporation,       )
                                                  )
             Defendant.                           )

                                   JOINT STATUS REPORT

        Plaintiff Saba Mahmood (“Plaintiff”), individually and on behalf of all similarly situated

individuals, and Defendant Berbix, Inc. (“Defendant”) (together, the “Parties”), hereby submit this

Joint Status Report pursuant to the Court’s September 13, 2022 Minute Order (Dkt. 38).

I.      Status of Discovery

        In accordance with the Court’s September 12, 2022 Minute Order (Dkt. 36), the Parties

exchanged Rule 26(a) disclosures on October 28, 2022, and will serve written discovery requests

on or before December 2, 2022.

II.     Status of Settlement Discussions

        The Parties have had preliminary settlement discussions but believe further discovery is

necessary before further settlement discussions will be productive. Accordingly, the Parties do not

request a settlement conference at this time.




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Dated: November 14, 2022                   Respectfully submitted,

   SABA MAHMOOD, individually              BERBIX, INC.
   and on behalf of a class of similarly
   situated individuals

   By: /s/ Timothy P. Kingsbury            By: /s/ Michael J. Roman
   One of Plaintiff’s Attorneys             One of Defendant’s Attorneys

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on November 14, 2022, I caused the foregoing Joint Status Report to

be electronically filed with the Clerk of the Court using the CM/ECF system. A copy of said

document will be electronically transmitted to all counsel of record.


                                                     /s/ Timothy P. Kingsbury




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